Case 4:17-cv-00051-JHM-HBB Document 1 Filed 04/17/17 Page 1 of 8 PageID #: 1




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                 OWENSBORO DIVISION

JACK JOHNSTON, individually and                )
on behalf of those similarly                   )
situated,                                      )
                                               )
               Plaintiffs,                     )
                                               ) CASE NO.: 4:17-CV-51-JHM
       v.                                      )
                                               )
J&B MECHANICAL, LLC,                           )
                                               )
               Defendant.                      )

                     COMPLAINT AND REQUEST FOR JURY TRIAL

                                       I. NATURE OF THE CASE

       1.      Plaintiff, Jack Johnston (“Johnston”), individually and on behalf of those

similarly-situated, by counsel, brings this action against Defendant, J&B Mechanical, LLC,

(“Defendant”) alleging failure to pay overtime compensation in violation of the Fair Labor and

Standards Act (“FLSA), 29 U.S.C. § 201 et seq. and Kentucky state law.

                                         II.     PARTIES

       2.      Johnston is a resident of the Commonwealth of Kentucky and has resided within

the geographic boundaries of the Western District of Kentucky at all relevant times.

       3.      Defendant maintains offices and conducts business within the geographic

confines of the Western District of Kentucky.

                                III.    JURISDICTION AND VENUE

       4.      This Court has jurisdiction over the subject matter of this complaint pursuant to

28 U.S.C. §1331; 28 U.S.C. §1367; and 29 U.S.C. § 216(b).

       5.      Defendant is an “employer” as that term is defined by 29 U.S.C. § 203(d).



                                                 1
Case 4:17-cv-00051-JHM-HBB Document 1 Filed 04/17/17 Page 2 of 8 PageID #: 2




       6.         Johnston, at all times relevant hereto, was an “employee” as that term is defined

by 29 U.S.C. §203(e)(1).

       7.         Defendant is subject to the FLSA because its employees engaged in commerce

and Defendant generates an annual gross volume of sales made or business done in excess of

$500,000.00.

       8.         This Court has supplemental jurisdiction over Johnston’s Kentucky state law

claims pursuant to 28 U.S.C. §1367.

       9.         All events, transactions, and occurrences relevant to this lawsuit arose within the

geographical environs of the Western District of Kentucky; thus venue is proper in this Court.

                                    IV.    FACTUAL ALLEGATIONS

       10.        Defendant is a corporation that serves the Feed, Grain and General Industries,

specializing in construction, millwright, fabrications, demolitions, riggings, inspections and

preventative maintenance.

       11.        Defendant hired Johnston in 2009, as a Field Foreman to supervise other

employees and perform millwright work.

       12.        At all times relevant, Johnston was a non-exempt employee who was entitled to

be paid time and a half for hours over forty (40) worked in any workweek.

       13.        Over the last year or so, Johnston was paid nineteen ($19) per hour for “in town”

work and twenty-one ($21) dollars per hour for “out-of-town” or “overnight” work. Johnston

was also paid twenty-five (.25) per mile for travel time. Before this time period, Johnston was

paid even less.




                                                   2
Case 4:17-cv-00051-JHM-HBB Document 1 Filed 04/17/17 Page 3 of 8 PageID #: 3




       14.     Johnston would supervise a crew composed of two (2) to three (3) other

employees in addition to himself. The Defendant would have three (3) to four (4) crews at any

one time comprised of the same number of employees.

       15.     Johnston worked a majority of his work hours on “out-of-town” work. Johnston

estimates that he worked fifty (50) to sixty (60) hours per work week and seven (7) to ten (10) of

those hours were travel time.

       16.     For “out-of-town” work, Johnston and the other members of the crew would meet

at the Defendant’s facility to load up the tools and materials needed into the Defendant’s truck

and then drive to the work location as assigned by the Defendant.      Then, after the work was

completed, Johnston and his crew would drive back to the Defendant’s facility, unload the truck

and head home.

       17.     The hours Johnston and the other similarly-situated employees spent traveling for

work were not counted towards their work hours for calculation and payment of overtime wages

by the Defendant.

       18.     Johnston is similarly-situated to Defendant’s other Field Foremen and Laborers in

that the common practice and policy of refusing to pay overtime at a rate of not less than one and

one-half times their regular rate of pay affected all current and former Field Foremen and

Laborers who worked “out-of-town” for Defendant (“Members of the Class”).

       19.     Johnston is similarly-situated to the Members of the Class because they all were

Field Foremen and Laborers; they were all paid hourly rates of pay; and they were all subject to

Defendant’s unlawful policy and practice of refusing to properly pay overtime wages for work

performed in excess of forty hours.




                                                3
Case 4:17-cv-00051-JHM-HBB Document 1 Filed 04/17/17 Page 4 of 8 PageID #: 4




       20.     Defendant’s failure to pay overtime compensation as required by the FLSA

results from a policy or practice applicable to Johnston and the Members of the Class.

Application of this policy or practice does not depend on the personal circumstances of Johnston

or those joining this lawsuit. Rather, the same policy or practice that resulted in the non-payment

of overtime to Johnston applied to all Members of the Class. Accordingly, the class is properly

defined as: All current and former Field Foremen and Laborers (or their functional equivalents)

who have performed “out of town” work for Defendant and were paid mileage for travel time,

but whose travel hours were not counted for overtime calculations and payment.

       21.     Defendant knowingly, willfully, or with reckless disregard carried out its illegal

pattern or practice of failing to properly pay overtime compensation with respect to Johnston and

the Members of the Class.

                                    V. CAUSES OF ACTION

                         COUNT I: FLSA – Failure To Pay Overtime

       22.     Johnston hereby incorporates paragraphs one (1) through twenty-one (21) of his

Complaint as if the same were set forth at length herein.

       23.     Johnston and Members of the Class are non-exempt employees of Defendant who

engaged in commerce and/or in an enterprise engaged in commerce.

       24.     Defendant intentionally and willfully failed to compensate Johnston and Members

of the Class at least one and one-half times the minimum wage rate of pay for time they spent

performing work-related duties/traveling for work in excess of a workweek of forty (40) hours.

       25.     Johnston and Members of the Class are entitled to recover from Defendant all

compensation which they earned, as well as liquidated damages pursuant to the Fair Labor

Standards Act of 1938, as amended, 29 U.S.C. § 201 et seq.



                                                4
Case 4:17-cv-00051-JHM-HBB Document 1 Filed 04/17/17 Page 5 of 8 PageID #: 5




          26.   Defendant's actions in denying Johnston and Members of the Class their overtime

compensation are intentional, willful, and/or done with reckless disregard for their statutory

rights.

          27.   Johnston and Members of the Class have suffered damages as a result of the

Defendant’s failure to pay overtime compensation.

                     COUNT II: Kentucky State Law – Failure To Pay Overtime

          28.   Johnston hereby incorporates paragraphs one (1) through twenty-seven (27) of his

Complaint as if the same were set forth at length herein.

          29.   Defendant intentionally and willfully failed to compensate Johnston and Members

of the Class at least one and one-half times the minimum wage rate of pay for time they spent

performing work-related duties/traveling for work in excess of a workweek of forty (40) hours.

          30.   Johnston and Members of the Class are entitled to recover from Defendant all

overtime compensation which they earned, as well as liquidated damages pursuant to Kentucky

State Law, KRS 337.285.

          31.   Defendant's actions in denying Johnston and Members of the Class overtime

compensation are intentional, willful, and/or done with reckless disregard for their statutory

rights.

          32.   Johnston and Members of the Class have suffered damages as a result of the

Defendant’s failure to pay.

                                COUNT III- Unjust Enrichment

          33.   Johnston hereby incorporates paragraphs one (1) through thirty-three (33) of his

Complaint as if the same were set forth at length herein.




                                                5
Case 4:17-cv-00051-JHM-HBB Document 1 Filed 04/17/17 Page 6 of 8 PageID #: 6




       34.     Defendant has failed and/or refused to pay overtime compensation due to

Johnston and Members of the Class for their labor and services rendered during their tenure as an

employee of Defendant.

       35.     Defendant has been unjustly enriched by keeping funds which are the property of

Johnston and Members of the Class.

                                     COUNT IV- Conversion

       36.     Johnston hereby incorporates paragraphs one (1) through thirty-five (35) of his

Complaint as if the same were set forth at length herein.

       37.     Defendant knowingly or intentionally exerted unauthorized control over Johnston

and Members of the Class’ wages when it unlawfully failed to pay overtime compensation due to

Johnston and Members of the Class.

       38.     Johnston and Members of the Class have suffered damages as a result of

Defendant’s actions.

                                    VI.     Request for Relief

       WHEREFORE, Plaintiff, Jack Johnston, and all employees similarly-situated who join

this action, respectfully request that this Court enter judgment in their favor and award the

following relief:

   A. Payment to Plaintiff (and those who have joined the suit) of all unpaid overtime

compensation;

   B. Payment to Plaintiff (and those who have joined the suit) of liquidated damages for all

unpaid overtime compensation;

   C. Payment to Plaintiff (and those who have joined the suit) of punitive damages for

Defendant’s failures and/or malice and willful actions;



                                                6
Case 4:17-cv-00051-JHM-HBB Document 1 Filed 04/17/17 Page 7 of 8 PageID #: 7




   D. Payment to Plaintiff (and those who have joined the suit) of compensation for any and all

other damages suffered as a consequence of Defendant’s unlawful actions;

   E. Order injunctive relief sufficient to insure that Defendant ceases and desists from further

unlawful employment practices in violation of the Fair Labor Standards Act of 1938, as

amended, 29 U.S.C. § 201 et seq.;

   F. Order Defendant to pay pre-judgment and post-judgment interest to Plaintiff (and those

who join the suit);

   G. Order Defendant to pay Plaintiff (and those who join the suit) costs and attorney fees; and

   H. Order all other relief this Court deems just and proper.



                                            Respectfully submitted,

                                            BIESECKER DUTKANYCH & MACER, LLC

                                            By: /s/ Andrew Dutkanych
                                            Andrew Dutkanych, #23551-49
                                            411 Main Street
                                            Evansville, Indiana 47708
                                            Telephone: (812) 424-1000
                                            Facsimile: (812) 424-1005
                                            Email: ad@bdlegal.com




                                                7
Case 4:17-cv-00051-JHM-HBB Document 1 Filed 04/17/17 Page 8 of 8 PageID #: 8




                                       DEMAND FOR JURY TRIAL

           Plaintiff, Jack Johnston, by counsel, requests a trial by jury on all issues deemed so

triable.


                                              Respectfully submitted,

                                              BIESECKER DUTKANYCH & MACER, LLC

                                              By: /s/ Andrew Dutkanych
                                              Andrew Dutkanych, #23551-49
                                              411 Main Street
                                              Evansville, Indiana 47708
                                              Telephone: (812) 424-1000
                                              Facsimile: (812) 424-1005
                                              Email: ad@bdlegal.com




                                                 8
